Case 2:20-cv-12734-MAG-EAS ECF No. 162-7, PageID.8050 Filed 10/10/23 Page 1 of 2
      Case 2:20-cv-12734-MAG-EAS ECF No. 162-7, PageID.8051 Filed 10/10/23 Page 2 of 2




Case No.: 2:20 -cv-12734
Our Reference ID: 23-0905
Document Title: Subpoena
Date Served: 04/26/2023
Subject of Subpoena: Justin Guy v. Absopure Water Company, LLC

                                               CERTIFICATION OF RECORDS

I, Brooke Leddon, hereby certify in writing that I employed by J.B. Hunt Transport, Inc. ("J.B. Hunt"). My official title is
Employment Litigation and Regulatory Counsel. I am familiar with the below documents and records received, created, and

relied upon by J.B. Hunt in the ordinary course of its business, and that the below records do not exist to:


             CONTRACTUAL SERVICE AGRREMENTS RELATING TO: Absopure Water Company, LLC




I hereby certify, on May 15, 2023, under penalty of perjury that the foregoing is true and correct to the best of my knowledge.




                                                                                                                   Brooke Leddon

                                                                                   Employment Litigation and Regulatory Counsel



                                                                Note: Due to Covid-19 and remote work, signatures are electronic
                                                                at this time. If you need a pen-and-ink or notarized signature,
                                                                please contact Brooke Leddon at brooke.leddon@jbhunt.com.
